Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 1 of 11 Page ID #:529




                     EXHIBIT 19
                           Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 2 of 11 Page ID #:530

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG


 U.S. Patent No. 9,807,826       MaxLite LED Tube L12T8AB440-CG
 1. An LED tube lamp,            The MaxLite LED Tube L12T8AB440-CG is an LED tube lamp comprising the claimed elements as set forth
     comprising:                 below. The MaxLite LED Tube L12T8AB440-CG includes a first rectifying circuit, coupled to a first pin and a
 a first rectifying circuit,     second pin and configured to rectify an external driving signal transmitted from the first pin and/or the second pin;
 coupled to a first pin and a    a second rectifying circuit coupled to a third pin and a fourth pin and configured to rectify the external driving
 second pin and configured       signal with the first rectifying circuit;
 to rectify an external
 driving signal transmitted      For example, as shown in Figures 1 and 2, the LED tube lamp has a first and second rectifying circuit coupled to
 from the first pin and/or the   first and second pins and third and fourth pins, respectively. As depicted in Figure 2, the end of the target LED
 second pin;                     tube lamp has two pins connected to rectifier DB1, and the other end of the target LED tube lamp has two pins
 a second rectifying circuit     connected to rectifier DB2. The first rectifying circuit is configured to rectify an electrical signal from/to a ballast
 coupled to a third pin and a    or AC main. As further shown, the second rectifying circuit is configured to rectify the external driving signal
 fourth pin and configured       with the first rectifying circuit.
 to rectify the external
 driving signal with the first
 rectifying circuit;




09120-00001/10846571.1                                                      1
                          Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 3 of 11 Page ID #:531

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




                                                                    Figure 1: Appearance of MaxLite’s LED tube




                                          Figure 2: Photo and equivalent circuit diagram of MaxLite’s first and second rectifying circuit


 a filter circuit, coupled to   The MaxLite LED Tube L12T8AB440-CG includes a filter circuit coupled to the first rectifying circuit and
 the first rectifying circuit   configured to filter the rectified signal.
 and configured to filter the
 rectified signal;              For example, as shown in Figure 3, a filter circuit is coupled to the first rectifying circuit and configured to filter
                                the rectified signal.

09120-00001/10846571.1                                                     2
                           Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 4 of 11 Page ID #:532

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




                                                   Figure 3: Photo and equivalent circuit diagram of MaxLite’s filter circuit


 an LED lighting module,         The MaxLite LED Tube L12T8AB440-CG includes an LED lighting module, having a driving circuit and an
 having a driving circuit        LED module, and coupled to the filter circuit and connected to receive the filtered signal.
 and an LED module, and
 coupled to the filter circuit

09120-00001/10846571.1                                                  3
                         Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 5 of 11 Page ID #:533

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




 and connected to receive      For example, Figure 4 shows the driving circuit and LED module, which are coupled to the filter circuit and
 the filtered signal;          connected to receive the filtered signal.




                                              Figure 4: Photo and equivalent circuit diagram of MaxLite’s LED lighting module


 a mode determination          The MaxLite LED Tube L12T8AB440-CG includes a mode determination circuit, configured to generate a first
 circuit, configured to        determined result signal based on the external driving signal.
 generate a first determined
 result signal based on the    For example, in Figure 5, elements R15 and C9, along with D7, D10, C10, and Z1 designate elements of the mode

09120-00001/10846571.1                                                  4
                            Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 6 of 11 Page ID #:534

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




 external driving signal;        determination circuit configured to generate a first determined result signal based on the external driving signal.
 and                             For instance, the signal level of the signal applied to Q2 depends on the frequency of the signal received by C9.




                                             Figure 5: Photo and equivalent circuit diagram of MaxLite’s mode determination circuit


 a mode switching circuit,       The MaxLite LED Tube L12T8AB440-CG includes a mode switching circuit, coupled to the filter circuit and the
 coupled to the filter circuit   driving circuit, configured to determine whether to perform a first driving mode or a second driving mode based
 and the driving circuit,        on the first determined result signal.
 configured to determine         For instance, Figure 6, shows Q2 marked as the mode switching circuit. The Q2 is connected to L1 through R8

09120-00001/10846571.1                                                     5
                         Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 7 of 11 Page ID #:535

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




 whether to perform a first    and R9, and further to T1 of the driving circuit.
 driving mode or a second
 driving mode based on the     The turned-off state and turned-on state of Q2 can correspond to a first driving mode and a second driving mode.
 first determined result       In addition, the turned-off/turned-on state Q2 can be controlled by, for instance, gate voltage VGS.
 signal,




                                                                                                         Q2




                                              Figure 6: Photo and equivalent circuit diagram of MaxLite’s mode switching circuit


 wherein the driving circuit   The MaxLite LED Tube L12T8AB440-CG includes a driving circuit configured to receive a filtered signal from

09120-00001/10846571.1                                                    6
                          Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 8 of 11 Page ID #:536

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




 is configured to receive a    the filtering circuit and drive the LED module to emit light when performing the first driving mode.
 filtered signal from the
 filtering circuit and drive   For instance, as depicted below, an AC main and a programmed rapid start ballast (model number: HOWARD
 the LED module to emit        INDUSTRIES EP4/32PPRS/MV/SC/HE) was used to test the MaxLite LED Tube L12T8AB440-CG and observe
 light when performing the     the signal waveform to confirm circuit operation during the different driving modes.
 first driving mode, and
                               For example, in Figure 7, when AC main is applied to drive the MaxLite LED Tube L12T8AB440-CG, the mode
                               determination circuit generates gate voltage VGS with substantially zero volt in response to the received low
                               frequency signal. Q2 is turned off in response to gate voltage VGS, so that drain voltage VDS of Q2 varies. By
                               turning off Q2, the driving voltage generated from the filtered signal is supplied to U2 of the driving circuit, so
                               that the driving circuit can be enabled by the driving voltage and drive the LED module.




09120-00001/10846571.1                                                   7
                         Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 9 of 11 Page ID #:537

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




                                                               D

                                                      G                 VDS
                                                       VGS
                                                                              VDS
                                                               S


                                                                                        VGS




                                      Figure 7: Signal waveform measured from different terminals of transistor Q2 (first driving mode)


 the filtered signal bypasses In the MaxLite LED Tube L12T8AB440-CG, the filtered signal bypasses at least a component of the driving
 at least a component of the circuit to drive the LED module to emit light when performing the second driving mode.
 driving circuit to drive the
 LED module to emit light For instance, in Figure 8, when the ballast is applied to drive the MaxLite LED Tube L12T8AB440-CG, the mode

09120-00001/10846571.1                                                  8
                         Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 10 of 11 Page ID #:538

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




 when    performing      the determination circuit generates gate voltage VGS with a level (about 15.31 volt) in response to the received
 second driving mode.        frequency signal. Q2 is turned on in response to gate voltage VGS since drain voltage VDS of NMOS transistor
                              Q2 equals to 0.


                              Referencing Figure 9, turning on Q2 makes node A electrically connect to the ground terminal via Q2 and thus the
                              electronic components of the driving circuit within the yellow region are bypassed.


                                                              D


                                                     G                  VDS
                                                                                                          VGS
                                                     VGS
                                                              S

                                                                                              VDS




                                    Figure 8: Signal waveform measured from different terminals of transistor Q2 (second driving mode)

09120-00001/10846571.1                                                  9
                          Case 2:19-cv-04047 Document 1-19 Filed 05/08/19 Page 11 of 11 Page ID #:539

EXHIBIT 19 TO PLAINTIFFS’ COMPLAINT – ’826 Patent, Exemplary Claim 1 – Example Product, MaxLite LED Tube L12T8AB440-CG




                                                                                                                          A




                                                    Figure 9: Equivalent circuit diagram when perform the second driving mode



Annotations to the figures in this chart are preliminary and illustrative only, and are not final or intended to limit Plaintiffs’ identification of claim
elements in the accused products. Plaintiff may change, expand, modify or narrow its identification of claim elements in the accused products as
it develops further facts as a part of this action.




09120-00001/10846571.1                                                     10
